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 4   Telephone: (916) 554-2700
 5
 6
 7              IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,      )        CR. NO. S-03-147 FCD
                                    )
12                  Plaintiff,      )
                                    )        STIPULATION AND ORDER
13                                  )
          v.                        )
14                                  )
     LUIS DELGADO,                  )
15                                  )
                                    )
16                  Defendant.      )
     _______________________________)
17
         Defendant Luis Delgado, through Scott Tedmon, Attorney At
18
     Law, and the United States of America, through Assistant U.S.
19
     Attorney Kenneth J. Melikian, agree to vacate the status
20
     conference scheduled for March 2, 2009.       The parties further
21
     stipulate that a status conference be placed on the court’s
22
     March 16, 2009, calendar.
23
          The parties have settled this case, and a plea agreement has
24
     been reduced to writing.     There is a very small disagreement in
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     the Factual Basis, however, which needs to be resolved.          Because
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     of the prosecutor’s participation in a trial, the parties have
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     not had an adequate opportunity to address this matter.          As the
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 1   prosecutor’s trial is nearing its end, the parties are certain
 2   that they will be able to finalize the plea agreement before
 3   March 16th.
 4        Accordingly, the parties request that the status conference
 5   in this case be continued to March 16, 2009.        All parties        agree
 6   that time should be excluded through March 16, 2009, from
 7   computation under the Speedy Trial Act pursuant to local code T4
 8   (18 U.S.C. § 3161(h)(8)(B)(iv)) to afford the defendant
 9   reasonable time to prepare his case.
10
11   DATED: February 27, 2009            Respectfully submitted,
12                                       McGREGOR W. SCOTT
                                         United States Attorney
13
14
                                         By: /s/ Kenneth J. Melikian
15                                       KENNETH J. MELIKIAN
                                         Assistant U.S. Attorney
16
17   DATED: February 27, 2009            /s/ Kenneth J. Melikian
                                         SCOTT TEDMON
18                                      Attorney for Defendant Luis
                                         Delgado
19                                       (Signed by Kenneth J. Melikian
                                        per authorization by Scott
20                                       Tedmon)
21
22
23
24        IT IS SO ORDERED.
25
                                      _______________________________________
26   DATED: February 27, 2009         FRANK C. DAMRELL, JR.
27                                    UNITED STATES DISTRICT JUDGE

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